Case 1-19-41041-cec

Fill in this information to identify the case:

United States Bankruptcy Court for the:

Eastern District of New York
{State}

Case number ¢f known)

Official Form 201

Chapter 11

Doc 1. Filed 02/22/19

Entered 02/22/19 10:00:56

U CLERK
EASTERN CMKRUPTCY COURT
TRICT
RECEIVED - gar NEW YORK

wa

FER 29 2019 fog: ad Check if this is an

amended filing

Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/16

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor’s name

150 Calyer LLC.

 

2. All other names debtor used N/A
in the last 8 years

 

 

Include any assumed names,

 

trade names, and doing business
as names

 

 

 

 

 

 

 

 

 

3. Debtor’s federal Employer 8 2 3478 5 10
Identification Number (EIN) Oe
4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
150 Calyer 1704 Avenue M.
Number Street Number Street
P.O. Box
Brooklyn 11222 Brooklyn NY = 11230
City ZIP Code City State ZIP Code
Location of principal assets, if different from
. principal place of business
Kings
County
Number Street
City State ZIP Code

 

5. Debtor’s website (URL) N/A

6. Type of debtor

C) Other. Specity:

f Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
CQ) Partnership (excluding LLP)

 

Official Form 201

Voluntary Petition for Non-individuals Filing for Bankruptcy page 1

 
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Debtor 150 Calyer LLC.

Name

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. if more than 1,
attach a separate list.

Official Form 201

Case number (known)

A. Check one:

C} Heaith Care Business (as defined in 11 U.S.C. § 101(27A))
QO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Q) Railroad (as defined in 11 U.S.C. § 101(44))

CI} Stockbroker (as defined in 11 U.S.C. § 101(53A))

) Commodity Broker (as defined in 11 U.S.C. § 101(6))

L) Clearing Bank (as defined in 11 U.S.C. § 781(3))

Wf None of the above

B. Check all that apply:

Q Tax-exempt entity (as described in 26 U.S.C. § 501)

CL) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C} investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http/Awww_uscourts. gov/four-digit-national-association-naics-codes .

   

 

Check one:

Q Chapter 7
C) Chapter9
Bf chapter 11. Check all that apply:

rg Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

Cl The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Qa plan is being filed with this petition.

QO Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C] The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13-or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C] The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

C) Chapter 12

Ef no

C) Yes. District When Case number
MM/ DD/YYYY

District When Case number
MM/ DD/YYYY

BM No
OQ) Yes. Debtor Relationship

District When
MM / DD /YYYY

Case number, if known

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2

 
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150 Caiyer LLC.

Debtor Case number it srawn
Name

11. Why is the case filed in this Check all that apply:

district? ; — . a ae
&f Debtor has had its domicile, principal piace of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Qa bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own orhave —_: Ng
possession of any real
property or personal property
that needs immediate Why does the property need immediate attention? (Check aif that apply.)
attention?

dl Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

CI it poses or is alleged to. pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

C) it needs to be physically secured or protected from the weather.
CI it inciudes perishable goods or assets that could quickly deteriorate or lose value without

attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets “sre options).

&] other Vendy Ww Dorin
Where is the property? \SO CAN Cc ee s\pect

 

 

 

Number Street I
“VEmhn PX War
City \ ‘ State | ZIP Code

Is the property insured?

CQ) No
Byes. Insurance agency

 

Contact name

 

 

Phone
ba Statistical and administrative information
13. Debtor’s estimation of Check one:
available funds MW Funds will be available for distribution to unsecured creditors.

C) After any administrative expenses are. paid, no funds will be available for distribution to unsecured creditors.

. Mf 1-49 2) 4,000-5,000 ] 25,001-50,000
14. Estimated number of Q 50-99 © 5,001-10,000 ©) 50,001-100,000
creditors ©) 100-199 © 10,001-25,000 ©) More than 100,000
L} 200-999
; 2 so-$50,000 &Y $1,000,001-810 million © $500,000,001-81 billion
15. Estimated assets Q) $50,001-$1400,000 ©) $10,000,001-$50 million [} $1,000,000,001-$10 billion
CJ $100.004-$500,000 ©) $50,000,001-$100 million © $10,000,000,001-350 biltion
£2) $500,001-$1 million CI $100,000,001-$500 million © More than $50 billion

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3

 
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150 Calyer LLC.

 

 

Debtor Case number of known)
Name
a Q s0-$50,000 2 $1,000,001-810 million  $500,000,001-81 billion
16. Estimated liabilities OQ) $80,001-$100,000 1 $10,000,001-$50 milion Q $1,000,000,001-810 billion
Q $100,001-$500,000 ©) $50,000,001-$100 million Q) $10,000,000,001-$50 bition
©) $500,001-§1 million C1 $100,000,001-$500 million 2 More than $50 billion

Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of = The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of

 

 

debtor petition.
= | have been authorized to file this petition on behalf of the debtor.
a | have examined the information in this petition and have a reasonable belief that the information is true and
correct.
| declare under penalty of perjury that the foregoing is true and correct.
Executed on 02 21 2019
ua MM TDD IYYYY_
o ° ae en : :
xX ge aT Cog ad ; Leszek Siedlecki
Signature of authorized representative of debtor f Printed name
Tite Manager
18. Signature of attorney x Date O02 21 2019

 

Signature of attorney for debtor MM /DD /1YYYY

 

Printed name

 

 

 

 

 

 

Firm name

Number Street

City State ZIP Code
Contact phone Email address

Bar number State

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4

 
Case 1-19-41041-cec Doc1

Fill in this information to identify the case:

Debtor name _150 Calyer LLC.

Filed 02/22/19 Entered 02/22/19 10:00:56

 

United States Bankruptcy Court for the: _ Eastern

Case number (If known):

 

District of New York
{State)

C] Check if this is an

 

Official Form 206D

amended filing

Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
() No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

QO) Yes. Fill in all of the information below.

| Part 1: | List Creditors Who Have Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page, if any.

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one numa lai coun . lateral
secured claim, list the creditor separately for each claim. mount of claim alue of collatera
Do not deduct the value that supports this
of collateral. claim
Creditor’s name Describe debtor's property that is subject to a lien
NYC Department of Housing Preservation & Development $ 188,315.00 $
Creditor’s mailing address 150 Calyer Street, Brooklyn, NY 11222
100 Gold Street
New York, NY 10038 Describe the lien
Violations related
Creditor’s email address, if known Is the creditor an insider or related party?
No
Yes
Date debt was incurred Is anyone else liable on this claim?
tet No
Last 4 digits of account Yes. Fill out Schedule H: Codebtors (Official Form 206H).
number oe
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
No . Co. | | | CO) Contingent
Yes. Specify each creditor, including this creditor, z Unliquidated
and its relative priority. Disputed
Ee Creditor’s name Describe debtor’s property that is subject to a lien
NYC Depariment of Housing Preservation & Development $2.p00 00 g
Creditor’s mailing address 150 Calyer Street, Brooklyn, NY 11222
100 Gold Street
New York NY 10038 Describe the tien
Creditor’s email address, if known Is the creditor an insider or related party?
oe No
QO ves
Date debt was incurred is anyone else liable on this claim?
ae i No
Last 4 digits of account BX Yes. Fill out Schedule H: Codebtors (Official Form 206H),
number ee
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
No Q Contingent
() Yes. Have you already specified the relative ) Unliquidated
priority? Xl disputed
OQ No. Specify each creditor, including this
creditor, and its relative priority.
C} Yes. The relative priority of creditors is
specified on lines ; ; ce _
3. Total of the dollar amounts from Part 1, Coiumn A, including the amounts from the Additional $

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property pagetof_
Case 1-19-41041-cec

Debtor

Doc1 Filed 02/22/19 Entered 02/22/19 10:00:56

Case number ¢f krawny

 

Name

Additional Page

Column A Column B
Amount of claim Value of collateral

 

Do not deduct the value that supports this

Copy this page only if more space is needed. Continue numbering the lines sequentially from the

previous page.

f2_] Creditor’s name

Nagin Family Trust

 

Creditor’s mailing address

50 Bank Street
New York, NY 10014

Creditor’s email address, if known

 

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?
No
QO) Yes. Have you already specified the relative
priority?

OQ] No. Specify each creditor, including this
creditor, and its relative priority.

C) Yes. The relative priority of creditors is
specified on lines

2. Creditor’s name

Environmental Control Board

 

Creditor’s mailing address

66 John Street
New York, NY 10038

Creditor’s email address, if known

 

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?
No
C) Yes. Have you already specified the relative
priority?
I No. Specify each creditor, including this
creditor, and its relative priority.

C) Yes. The relative priority of creditors is
specified on lines

Official Form 206D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

 

 

 

 

 

of collateral. claim
Describe debtor’s property that is subject to a lien
150 Calyer Street, Brooklyn, NY 11222
y y 5 3,055,052.78 $
Describe the lien
Mortgage Loan
Is the creditor an insider or related party?
No
C ves
Is anyone else liable on this claim?
No
CQ) Yes. Fill out Schedule H: Codebtors (Official Form 206H).
As of the petition filing date, the claim is:
Check all that apply.
Q Contingent
OQ) Untiquidated
Disputed
Describe debtor’s property that is subject to a lien
150 Calyer Street, Brooklyn, NY 11222 =. 136,370.00 5

 

 

 

 

Describe the lien
Violations related

Is the creditor an insider or related party?
No
Yes

Is anyone else liable on this claim?
No
3h Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

OQ Contingent
Q Unliquidated
Disputed

page. oof_
Case 1-19-41041-cec Doc1 Filed 02/22/19 Entered 02/22/19 10:00:56

Debtor Case number (f anonry
Name

ee use Others to Be Notified for a Debt Already Listed in Part 1

 

 

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

On which line in Part 4 Last 4 digits of
did you enter the account number
related creditor? for this entity

Name and address

 

Line 2.

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

Form 206D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page of
Case 1-19-41041-cec Doc1 Filed 02/22/19 Entered 02/22/19 10:00:56

Fill in this information to identify the case:

Debior name Wd CLAN ts ye { iS C_ ,

United States Bankruptcy Court for the: EAS | co N° vA District of .
. (State)

Case number (If known}:

 

 

CJ Check if this is an
amended filing

Official Form 206H
Schedule H: Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Does the debtor have any codebtors?
Q) No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
C) Yes
. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
schedule on which the creditor is listed. if the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
ce oE : : Check all-schedules
Name Mailing address Name. that apply:
2 Ws Cake WAS CAljer. Stuer pats a Tewuly ao
Street QO E/F
LUC. - . SRS ac
< ee,
YroO hla MY NO eR
City State } ZIP Code
2.2
OD
Street QO E/F
QG
City State ZIP Code
2.3
QOD
Street QO) E/F
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City . State ZIP Code
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Street O EF
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a HY enna taRe ZIP Code "
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‘ QD
Street O E/F
aG
a Lr
26
QD
Street O EF
aG

 

 

City State ZIP Code

Official Farm 90RH Schadiule H- Cadohtare nana 1 af

 
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Debtor Case number tif known)
Name

Additional Page if Debtor Has More Codebtors

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Mailing address Name theta ay schedules
2
OD
Street Q E/E
aoG
City State ZIP Code
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City State ZIP Code

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Case 1-19-41041-cec Doc1 Filed 02/22/19 Entered 02/22/19 10:00:56

ACKNOWLEDGEMENT COPY

ARTICLES OF ORGANIZATION
OF
150 CALYER LLC

Under Section 203 of the Limited Liability Company Law

FIRST: The name of the limited liability company is:
150 CALYER LLC

SECOND: The county, within this state, in which the office of the limited liability company is to be
located is KINGS.

THIRD: The Sceretary of State is designated as agent of the limited liability company upon whom
process against it may be served. The address within or without this state to which the
Secretary of State shall mail a copy of any process against the limited liability company
served upon him or her is:

SOLOMON ROSENGARTEN, ESQ.
!704 AVENUE M, STE. 2
BROOKLYN, NY 11230

I certify that I have read the above statements, I am authorized to si gn these Articles of Organization,
that the above statements are truc and correct to the best of my knowledge and belicf and that my
signature typed below constitutes my signature.

TRUDI WINTER, ORGANIZER (signature)

TRUDI WINTER , ORGANIZER.
BLUMBERGEXCELSIOR

236 BROADWAY

MENANDS, NY 12204

 

Filed by:
BLUMBERGEXCELSIOR CORPORATE SERVICES, INC,
236 BROADWAY

MENANDS, NY 12204

BLUMBERGEXCELSIOR CORPORATE SERVICES INC. (39)
DRAWDOWN
CUSTOMER REF# 226090

DOS-1239-f-11 (Rev. 02/12) Page 1 of L

 
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N.¥.S. DEPARTMENT OF STATE
DIVISION OF CORPORATIONS AND STATE RECORDS ALBANY, NY 12231-0001

ONLINE FILING RECEIPT

ENTITY NAME: 150 CALYER LLC

DOCUMENT TYPE: ARTICLES OF ORGANIZATION (DOM. LLC) COUNTY: KING

FILED:11/21/2017 DURATION: ** 44% eek Kx CASH#:171121010319 PILE#:171121010319
DOS ID:5238765

PILER: EXIST DATE

BLUMBERGEXCELSIOR CORPORATE SERVICES, INC. 11/21/2017
236 BROADWAY
MENANDS, NY 12204

ADDRESS FOR PROCESS:

SOLOMON ROSENGARTEN, ESQ.
1704 AVENUE M, STE. 2
BROOKLYN, NY 11230

REGISTERED AGENT:

ett ebony.

*

  
  
  
 

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fo, at,
: * xs

Pr *

The limited liability company is required to file a Biennial Statement with the
Department of State every two years pursuant to Limited Liability Company Law
Section 301. Notification that the Biennial Statement is due will only be made via
email. Please go to www.email.ebiennial.dos.ny.gov to provide an email address to
receive an email notification when the Biennial Statement is due.

SERVICE COMPANY: BLUMBERGEXCELSIOR CORPORATE SERVICES INC. -39
SERVICE CODE: 39

FEE: 225.00 PAYMENTS 225.00
FILING: 200.00 CHARGE 0.00
TAX: 0.00 DRAWDOWN 225.00
PLAIN COPY: 0.00

CERT COPY: 0.00

CERT OF EXIST: 25.00

226090 DOS-1025 (04/2007)

 

 

Authentication Number: 1711210332 To verify the authenticity of this document you
May access the Division of Corporation’s Document Authentication Website at

http: //ecorp.dos.ny.gov

 

 

 
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STATEMENT OF ORGANIZATION
OF
THE SOLE ORGANIZER
OF

150 CALYER LLC

THE UNDERSIGNED, being the sole organizer of the within named limited liability
company (the "Company"), formed under Article 2 of the Limited Liability Company Law of the
State of New York (LLCL), does hereby state that:

1. The Articles of Organization of the Company under LLCL § 203 were filed by the
Department of State of the State of New York on November 21, 2017. A copy of the Articles of
Organization and the original receipt of the Department of State showing payment of the filing fee
are annexed hereto. The same hereby, is ordered filed with the Operating Agreement of the
Company.

2. At the time of its formation, the Company had at least one member/manager, to wit:

LIESZEK SIEDLECKI
3. The sole organizer herein is neither a member or a manager of the Company.

4. The undersigned, effective the date upon filing of the limited liability company , has
fulfilled the duties as the sole organizer of 150 CALYER LLC, in accordance with the provisions
set forth in LLCL § 203 and herewith relinquishes all further duties relating to the organization and
formation of the Company.

IN WITNESS WHEREOEF, I have made and subscribed this Statement of Organization on
the date of filing.

TRUDI WINTER
Sole Organizer

 

 
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OPERATING AGREEMENT OF

130 CALYER LLC

AGREEMENT dated this 21“ day of November, 2017 by and between Leszek Siedlecki

(individually a “Member” and collectively by the “Members).

WITNESSTH

WHEREAS, the Members have formed a Limited Liability Company pursuant to and in
accordance with the New York Limited Liability Law, as amended from time to time:

WHEREAS, the Members desire to set forth their agreement as to the business and
management of the Company and their interest therein:

NOW, THEREFORE, in consideration of the contributions to be made as provided
herein and of these premises, the parties hereto agree as follows:

ARTICLE I

DEFINITIONS

1.1 Definitions. In this Agreement, the following terms shall have the meanings set forth below:

(A) Act shall mean the New York Limited Liability Company Law.

(B) Agreement shall mean this Operating Agreement, as originally executed and as
amended from time to time in accordance herewith and with the Act.

(C) Agreed Value of the contributed Property means the fair market value of the property
at the time of contribution as determined the by Members. The Members shall use
such method as they deem reasonable and appropriate to allocate the Agreed Value of
contributed Properties among each separate property.

(D) Articles of Organization shall mean the Articles of Organization of the Company, as
filed with the New York Secretary of State, as amended from time to time in
accordance herewith and with the Act.

(E) Bankruptcy of a Member shall mean

1. the entry of an order for relief with respect to that Member in a
proceeding under the United States Bankruptcy Code, as amended

from time to time, or
Case 1-19-41041-cec Doc1 Filed 02/22/19 Entered 02/22/19 10:00:56

2. the Member’s initiation, whether by filing a petition, beginning a
proceeding or in an answer to a proceeding commenced by another
Person, of any action for liquidation, dissolution, receivership or
other similar relief, or the Member’s application for, or consent to the
appointment of, a trustee, receiver or custodian for its assets. For
purposes of this definition, a Member’s consent shall be deemed to
have been given if an order appointing a trustee, receiver or custodian
as entered by a court of competent jurisdiction and is not dismissed
within ninety days (90) after its entry.

(F) Capital contribution of, or attributed to a Member shall mean the total contributions to
the capital of the Company, whether in cash, property, services or any combination
thereof, made, performed by, or attributed to or deemed attributed to, such Member,
valued on the date of contribution or commitment to contribute and set forth herein.

(G) Capital Interest of a Member, as of any date, shall be expressed as a percentage
determined by diving

1. the amount of the balance of the positive Capital Account associated

with the Member’s Membership Interest

nN

by the aggregate balances of the Capital Accounts of all Members

whose accounts have positive balances, as adjusted through such

date in accordance herewith.

(H) Code shall mean the Internal Revenue Code of 1986, as amended, or any
corresponding provision of any succeeding law. Company shall refer to 150
CALYER LLC.

(I) Fiscal Year shall mean the Company’s accounting, tax, fiscal year which shall be the
calendar year.

(J) Initial Capital contribution of a Member shall mean its initial contribution to the
capital of the Company pursuant to this Agreement.

(K) Involuntary withdrawal of a Member shall mean its withdrawal as a Member as a
result of an event described in Section 1.1(u) paragraphs (i), (ii), (ili) or (iv).

(L) Management Interest of a Member shall mean its right to participate in the

management of the business and affairs of the Company, including any right to vote
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on, consent to, or otherwise participate in, any decision or action of or by the
Members hereunder or under the Act.
(M) Member shall mean each Person who
1. executes a counterpart of this Agreement as a Member as of the date
hereof or
2. is admitted as a Member after the date hereof in accordance
herewith, provided that, in each case, a Member shall always have a
management interest.

(N) Membership Interest of a Member shall mean a Member’s entire interest in the
Company, including its Capital Interest in the Company and Management Interest.

(O) Net Profits and Net Losses shall mean, for each Fiscal Year (or other period for
which they are determined), the Income and gain and the losses and deductions of the
Company, respectively, in the aggregate or separately stated as appropriate,
determined in accordance with generally accepted accounting principles consistently
applied.

(P) Person shall mean any individual, partnership limited liability company, corporation,
joint venture, trust, association or any other entity, domestic or foreign, and its
respective heirs, executors, administrators, legal representatives, successors and
assigns where the context of this agreement so permits.

(Q) Transfer shall mean any sale, assignment, transfer, gift, exchange or bequest or
other disposition or an Interest, in any manner, voluntary or involuntary, by operation
of law or otherwise but shall not include a pledge, hypothecation or other contingent
transfer of rights unless or until such contingency occurs.

(R) Treasury Regulations shall mean regulations promulgated under the Code in effect
as of the date hereof or hereafter amended or adopted

(S) Voluntary withdrawal of a Member shall mean his or its withdrawal as a Member
as a result of an event described in section 1.1(u) paragraph (1) or (2).

(T) Withdrawal Event with respect to any Member, shall mean its (i) death or
disability of a Member, dissolution, expulsion as a Member or adjudication of
incompetency, as applicable; (ii) Bankruptcy; (iii) making a general assignment for

the benefit of creditors;
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(U) Interest becoming subject to enforcement of rights of any of his or its creditors, unless
such rights are released within ninety (90) days he or it receives notice of the
creditor’s action

1. Voluntary retirement or withdrawal from the Company; or,

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any other event that terminates a Member’s Membership in
the Company or otherwise causes the dissolution of the

Company under the Act.

ARTICLE

FORMATION AND BUSINESS OF THE COMPANY

2.1 Formation. The Company was organized on November 21, 2017 in accordance with and

pursuant to the Act.

2.2 Name. The name of the Company is 150 CALYER LLC. The Company may do business
under the name, as permitted by applicable law, under any other name determined from time
to time by the Members.

2.3 Purpose of the Company. The purpose of the Company shall be to conduct any lawful
business or activity whatsoever as, permitted by applicable law and as determined from time
to time by the Members. The Company may exercise all powers necessary to or reasonable
connected with the Company’s business from time to time, and may engage in all activities
necessary, customary, related or incidental to any of the foregoing. The authority granted to
the Managing Member to bind the Company shall be limited to actions necessary or
convenient to this business.

2.4 Principal Place. The Company’s principal place of business shall be located at:
485 Ridge Road, Campbell Hall, NY 10916.

2.5 Members. The names, addresses and Capital Interest of, the Members Are set forth as
Exhibit A attached hereto, as amended from time to time.

2.6 Management of the Company. Except as otherwise set forth in this Agreement the
management of the Company and all decisions relating to the business affairs of the
Company shall be made by the Managing Member.
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ARTICLE III

MEMBERS

3.1 Liability for Company Debt. No Member shall be personally liable for any debts, losses or
obligations of the Company by reason of its being a Member, except to the extent of its
Capital contribution and any obligation to make a Capital contribution.

3.2 Conflicts of Interest. Except as limited by the provisions of Article VII, it shall not be a
conflict of interest for a Member, including the Managing Member to engage in activities
that may be competitive with the Company however nothing shall permit any Member,
including the Managing Member, to use or appropriate Company property of any type or
kind in the conduct of those other activities.

3.3 Dealing with the Company. Subject to the requirements of this Agreement, any Member
thereof may make loans to, borrow from and transact such other business with, the Company
as may be approved by the Members in accordance with this Agreement. Loans made
pursuant to this section shall comply with the provisions of section 4.7.

3.4 Management Rights. No Member other than the Managing Member shall have the right to
bind the Company. Any Member making such unauthorized act shall indemnify the
Company for any costs or damages incurred by the Company as the result of such act.

3.5 Acts Reserved to Members. The following actions shall require the consent of all of the
Members:

a) Incur or refinance the indebtedness of the Company (or to make a guaranty or
suretyship) in excess of $100,000.

b) Effect the sale of Company property in other than the normal course of business.

c) Amend this Agreement.

d) File a voluntary petition in bankruptcy or an assignment for the benefit of creditors.

e) Merge, consolidate, liquidate or dissolve the Company.

f) No Preemptive Rights. No Member shall have any preemptive, preferential or other
right with respect to

(i) making additional Capital contribution,

(ii) the issuance or sale of Interests by the Company,
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(iii) the issuance of any obligations, evidences of indebtedness or securities of
the Company convertible into, exchangeable for, or accompanied by, any
rights to receive, purchase, purchase or subscribe to, any Percentage
Interests, or

(iv) the issuance of any right, of subscription to or right to receive, or any

warrant or option for the purpose of, any of the foregoing.

ARTICLE IV

CAPITAL; CAPITAL ACCOUNTS

4.1 Initial Capital Contributions. Upon the execution of this Agreement, the Member shall
contribute to the Company the cash and property as set forth in Exhibit A.

4.2 Additional Capital Contributions. Members shall be required to make the capital
contribution as set forth in section 4.1 of this Agreement. No Member shall be required to
make additional Capital Contributions unless required by the vote of Member holding more

than two-thirds (2/3) in interest to enable the Company to continue its business.

4.3 No Interest on Capital Contributions. Member shall not be paid interest on their Capital

Contribution.

4.4 Return on Capital Contributions. Except as otherwise provided in this Agreement, no

Member shall have the right to receive any return of any Capital Contribution.

4.5 Form of Return of Capital. If a Member is entitled to receive a return of a Capital
Contribution, the Company may distribute cash, notes, property or a combination thereof to

the Member in return of the Capital contribution.

4.6 Capital Accounts. A separate Capital Account shall be maintained for each Member. If the

Members determine that the Capital Accounts must be adjusted to comply with section
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704(b) of the Code, then the method in which Capital Accounts are maintained shall be so
modified. Any such change in the maintenance of the Capital Accounts shall not materially

alter the economic agreement among or between Members.

4.7 Liability of Managing Member. The Managing Member shall have no personal liability for

repayment of any Capital Contribution to any Member.

ARTICLE V

PROFIT, LOSS AND DISTRIBUTIONS

5.1 Distributions. Cash available for distributions shall be distributed at such time and in such
amounts as may be determined by the Members in accordance with the Capital Interest of
each such Member.

5.2 Limitation on Distributions. No distributions shall be declared as paid unless, after giving
effect thereto, the assets of the Company exceed the Company’s liabilities.

5.3 Allocation of Profits and Losses. After giving effect to special allocations as may be
required for any taxable year of the Company, Profits and Losses shall be allocated to the
Members in accordance with the percentages interest of each such Members.

5.4 Offsets. The Company shall offset all amounts owing to the Company by a Member against
any Distribution to be made to such Members.

5.5 Liquidation and Dissolution. If the Company is liquidated, the assets of the Company shall
be distributed to the Members in accordance with their respective Capital Interests, after
taking into account the allocations of Profit or Loss, if any.

5.6 Amendment. The Members are hereby authorized, upon the advice of the Company’s tax
advisor, to amend this Article to comply with the Code and the Regulations promulgated
under Code section 704(b); provided, however, that no amendment shall materially adversely
affect distributions to a Member without the Member’s prior consent.
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ARTICLE VI
TAXES

6.1 Tax Returns. The Managing Member, at the expense of the Company, shall cause to be
prepared and filed all necessary Federal and State income tax returns for the Company and
shall prepare and deliver to each Member promptly at the end of the Company’s Fiscal Year
all information necessary for the preparation of the Member’s tax returns.

6.2 Tax Elections. The Company shall make the following elections on the appropriate tax
returns:

A. To adopt the calendar year as the Fiscal Year;

B. To adopt the cash method of accounting and to keep the Company’s books and
records on the income tax method;

C. Ifa Distribution as described in section 734 of the Code occurs of if the Economic
Interest of a Member is Transferred as described in section 743 of the Code occurs,
upon the written request of any Member, to elect to adjust the basis of the property
of the Company pursuant to section 754 of the Code:

D. To elect to amortize the organizational expenses of the Company and the start-up
expenses of the Company under section 195 of the Code ratably over a period of
sixty months as permitted by section 709(b) of the Code; and,

E. Any other election that the Members deem appropriate and in the best interest of the
Company. Neither the Company nor any Member may make an election for the
Company to be excluded from the application of Subchapter K of the Chapter 1 of
Subtitle A of the Code or any similar provisions of this Agreement shall be

interpreted to authorize any such election.

6.3 Tax Matters Partners. The Managing Member shall be the “tax matters partner” of the
Company pursuant to section 6213(a) (7) of the Code. The Managing Member shall not
resign unless the Members have designated a new Managing Member or new “tax Matters
Partner.”
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ARTICLE VII

TRANSFERABILITY

7.1 Restriction of Transfers. No Member may transfer all, or any portion of, or rights in, its
Membership Interest. The Members agree that the restriction on the transfer of Interests
hereunder is fair and reasonable in light of the Code requirements affecting the Company’s
classification as a partnership for tax purposes.

7.2 Certain Transfers of No Effect. Any Transfer or attempted Transfer of an Interest in
violation of the terms of this Agreement shall be null and void and have no effect. Each
Transferor hereby indemnifies the Company and remaining Members against any and all
loss, liabilities and damages, including without limitation, tax liabilities or loss of tax
benefits, arising directly or indirectly out of any Transfer or purported Transfer in violation
of this Agreement.

7.3 Transferee Not A Member.
(a) No person acquiring any Interest pursuant to this section other than a Member shall
become a Member unless such Person is approved by the consent of two thirds (2/3) in
Interest of the Members. If no such approval is obtained, the Person’s Interest shall only
entitle Person to receive the distributions of profits and losses to which the Member from
whom or which such person received such Interest would be entitled. Any such approval may
be subject to terms and conditions imposed by the Members. Acquires of such Interest shall
be subject to the same restrictions on Transfer as are Interests held by Members. The
provisions of this section shall not apply to
(1) the Transfer of Interests to any other Member
(II) the issuance of a new Membership Interest by the Company directly to a
new Member or
(III) the Transfer of an Interest of a Bankrupt, dissolved or incompetent
Member or to his or its successor in interest.

ARTICLE VII
WITHDRAWAL OF A MEMBER
8.1 Right to Withdraw. The Voluntary withdrawal of a Member shall be permitted with the

written consent of two-thirds (2/3) of the Percentage Interests, excluding the withdrawing
Member or upon six months prior notice to the Company.
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8.2 Effect of Withdrawal.

(A) If the business of the Company continued in accordance with the provisions of this
Agreement after a Voluntary withdrawal, the withdrawn Member shall not be entitled to
receive any amount of liquidation of his or its Membership Interest until the dissolution
and winding up of the Company but shall, on and as of the date of withdrawal Event,
become an assignee of the economic component of his or its former Membership Interest,
without the right to participate in the management of the Company. After any Voluntary
Withdrawal, the relative Percentage Interests of the remaining Members for voting
purposes only shall be determined as thought the withdrawn Member’s Membership
Interest has been repurchased.

(B) If the business of the Company is continued in accordance with the provisions of this
Agreement after an Involuntary withdrawal, the withdrawn Member shall be entitled to
have its Interest repurchased [receive an amount of liquidation of its Membership Interest
determined as set forth herein] as provided in this Agreement.

(C) If the withdrawal Event results in the dissolution of the Company, the withdrawn
Member shall be treated as any other Member in the liquidation of the Company’s assets
pursuant to this Agreement.

(D) Notwithstanding anything contained in this section to the contrary, the Company may, if
it deems it appropriate to do so, repurchase the Member’s Membership Interest as
provided in section.

8.3 Damages for Breach. If a Voluntary Withdrawal Event of a Member occurs in breach of this
Agreement, such withdrawn Member shall pay to the Company within ninety (90) days
following the date of the withdrawal event the sum of fen thousand dollars ($10,000) as
liquidated damages for such breach, and not as a penalty, the parties acknowledge that such
amount is reasonable in light of the amount of damages that such breach would cause this
Company.

8.4 Repurchase of Interest.

(A) If the business of the Company is continued in accordance with the provision of this
Agreement after a Withdrawal Event, the Company may repurchase the withdrawn
Member’s Membership Interest at a Purchase Price determined and payable as set forth
below. The closing of the Purchase Price shall take place within ten (10) days after the
parties have agreed on the Purchase Price or it has otherwise been determined in
accordance herewith.

(B) If the Company, acting by its Members, and the Withdrawn Member or its successor-in-
interest, as the case by be, cannot agree upon the Purchase Price within thirty (30) days
after the Company receives notice of the Withdrawn Event, the Purchase Price shall be
equal to the book value of the withdrawn Member’s equity in the Company, computed in

 
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accordance with generally accepted accounting principles, as of the end of the Fiscal
Year preceding the year in which the Withdrawal Event occurred. Book value shall be
determined by the Company’s accountants, and determination shall be binding.

(C) Where the Company repurchases the Membership Interest of a Member who has
withdrawn in breach of this Agreement, the Purchase Price shall be reduced by any
amount to be paid by the Withdrawn Member as liquidated damages pursuant to this
Agreement.

ARTICLE IX

DISSOLUTION AND TERMINATION

9.1 Events Causing Dissolution and Winding Up. The Company shall be dissolved and wound
up upon the first to occur of the following events:

(A) the written consent of two-thirds (2/3) in interest of the Members;

(B) a Withdrawal Event with respect to any Member unless the business of the
Company is continued as provided below. Notice of any Withdrawal Event
shall be given to each of the other Members by the Withdrawn Member or his
or its successor-in-interest, if any, within sixty (60) days after the date thereof:

(C) the sale or disposition of all or substantially all of the business or assets of the
Company; or

(D) the entry of a decree of a judicial dissolution under section 702 of this Act.

9.2 Election to Continue the Business of the Company. Notwithstanding in the provisions of
section 9.1 of this Agreement, an event specified in section 9.1B shall not result in the
dissolution, winding up and termination of the Company, if within ninety (90) days after the
occurrence of any such event, a majority in Capital Interests of the remaining Members
holding the right to receive more than fifty percent (50%) of the remaining Member’s
aggregate rights to receive Net Profits over the life of the Company elect in their sole
discretion to continue the business of the Company. If the business is continued, any Member
that does not vote to do so shall nevertheless continue as a Member.

If the Members elect to continue the business of the Company, the Company shall continue
as a Limited Liability Company pursuant to the Act under this Agreement until a subsequent
event causing dissolution hereunder or under the Act, in which event an election as to
whether or not to continue the business of the Company will again be required.

9.3 Winding Up of the Company. Upon the dissolution of the Company the Managing
Member, or if there is no Managing Member such other person or persons designated by the
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Members, may, in the name of and on behalf of the Company, prosecute and defend suits,
whether civil, criminal or administrative, and sell and close the Company’s business, dispose
of the Company’s property, discharge the Company’s liabilities and distribute to the
members any remaining assets of the Company, all without affecting the liability of
Members. Upon winding up of the Company, the assets shall be distributed as follows:

(A)To creditors, including any Member who is a creditor, to the extent permitted
by law, in satisfaction of liabilities of the Company, whether by payment or
by establishment of adequate reserves, other than liabilities or distribution to
Members under section 507 or section 509 of the Act;

(B) To Members and former Members in satisfaction of liabilities for Distribution
under section 507 and 509 of the Act; and,

(C) To Members first for the return of their Capital contributions, to the extent not
previously returned, and second respecting their Interests, in the proportions in
which the members share in Distribution in accordance with this Agreement.

9.4 Termination. Upon completion of the Dissolution, winding up, liquidation and distribution
of assets of the Company, the Company shall be deemed terminated.

9.5 Articles of Dissolution. Within ninety (90) days following the dissolution and
commencement of winding up of the Company, or at any other time when there are no
Members, Articles of Dissolution shall be prepared, executed and filed in accordance with
the Act.

9.6 Nonrecourse to Other Members. Except as provided applicable law or as expressly
provided in this Agreement, upon dissolution, each Member shall receive a return of his or its
Capital Account solely from the assets of the Company. If the assets of the Company
remaining after the payment or discharge of the debts and liabilities of the Company is
insufficient to return the Capital Account of any Member, such Member shall have no
recourse against any other Member.

ARTICLE X

MANAGEMENT AND CONTROL AGREEMENT

10.1 Managing Member.
A. LESZEK SIEDLECKI shall be the Managing Member of the Company (the

“Managing Member’) and, in such capacity, shall manage the Company in accordance
with this Agreement, the Managing Member is an agent of the Company’s business, and
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the actions of the Managing Member taken in such capacity and in accordance with this
Agreement shall bind the Company.

B. Managing the Company. The Managing Member shall have full, exclusive and
complete discretion to manage and control the business and affairs of the Company, to
make all decisions affecting the business and affairs of the Company and to take all such
actions as it deems necessary or appropriate to accomplish the purpose of the Company
as set forth herein. The Managing Member shall be the sole Person with the power to
bind the Company, except and to the extent that such power is expressly delegated to any
other Person by the Managing Member, and such delegation shall not cause the
Managing Member to cease to be a Member or the Managing Member of the Company.

10.2 Powers of the Managing Member. The Managing Member shall have the right, power and
authority, in the management of the business and affairs of the Company, to do or cause to
be done any and all acts, at the expense of the Company, deemed by the Managing Member
to be necessary or appropriate to effectuate the business, purposes and objectives of the
Company. Without limiting the generality of the foregoing, the Managing Member shall
have the power and authority to:

A. Make expenditures for the benefit of the Company and to incur obligations on
behalf of the Company in order to implement the business and purposes of the
Company;

B. Employ or retain Persons, including any Member and any Affiliate of any
Member, whether full-time or part-time, at the expense of the Company, to
perform services in connection with the operation and management of the
Company’s business on such terms and for such compensation as the
Managing Member shall determine;

C. Negotiate, do any act, or enter into or execute and deliver, in furtherance of
any or all of the purposes of the Company, any and all agreements, contracts,
documents, certifications and other instruments of any nature deemed
necessary, convenient or desirable in connection with the business and affairs
of the Company, all of which may contain such terms, provisions and
conditions as the Managing Member, in its sole and absolute discretion, shall
deem appropriate;

D. Sell, exchange, convey, trade, surrender, release, abandon or otherwise
dispose of all or any part of the assets of the Company, at such price or
amount, for cash, securities or other property, and upon such terms and
conditions as the Managing Member, in the exercise of its sole and absolute
discretion, deems advisable, appropriate or convenient and to be in the best
interests of the Company;
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E. Use the funds of the Company, including the Capital Contributions and
borrowings, if any, for any purposes and on any terms that the Managing
Member, in the exercise of its sole and absolute discretion, determines to be
appropriate, including without limitation, the costs of conducting the business
and activities of the Company, the payment of its obligations and the
repayment of its borrowing, if any;

F. Borrow money and incur indebtedness required for the business and affairs of
the Company and, if security is required therefore, to secure the repayment of
such borrowings by executing mortgages or deeds of trust, pledging or
otherwise encumbering or subjecting to security interests, all or any part of the
assets of the Company; [make a guaranty or suretyship]; to obtain
replacements of any loan, and to repay, in whole or in part, refinance,
increase, modify, consolidate, or extend the maturity of any indebtedness
created by such borrowings, or any such mortgage, deed of trust, pledge,
encumbrance, or other security device, all upon such terms as the Managing
Member deems, in its sole and absolute discretion, to be in the best interests of
the Company;

G. Acquire and enter into any contract of insurance which the Managing Member
deems necessary or appropriate for the protection of the Company and the
Managing Member or for the conversation of Company assets;

H. Purpose or cause to be prepared reports, statements and other relevant
information for dissemination to Member;

I. Open accounts and deposit and maintain funds in the name of the Company in
banks, trust companies or securities broker dealers and designated the
signatories thereon; provided, however, that the Company’s funds shall not be
commingled with the funds of any other Person;

J. Establish a record date with respect to all actions to be taken hereunder that
require a record date be established, including with respect to allocations and
distributions; and,

K. Bring and defend on behalf of the Company actions and proceedings at law or
in equity before any court or governmental, administrative or other regulatory
agency, body or commission or otherwise. The expression of any power or
authority of the Managing Member in this Agreement shall not in any way
limit or exclude any other power or authority which is not specifically or
expressly set forth in the Agreement.

10.3 Compensation of Managing Member. The Managing Members will not receive or be
entitled to any fees of any other compensation from the Company for the services
enumerated herein or for any other services, other than the Management Fee. The
Management Fee shall be payable to the Managing Member Quarterly with ten (10) days

 
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after the of each Fiscal Quarter commencing with the Fiscal Quarter ending. The
Management Fee is intended by the Members to constitute a guaranteed payment, as such
term is used in section 707(c) of the Code.

10.4 Reimbursement. The Company reimbursement the Managing Member for all ordinary and
necessary out-for-pocket expenses incurred by the Managing Member on behalf of the
Company against receipts and documentation in accordance with the practices of the
Company.

10.5 No Management by Other Member. Except as otherwise expressly provided herein, no
Member other than the Managing Member shall take part in the day-to-day management, or
the operation or control of the business and affairs of the Company. Except and only to the
extent expressly delegated by the Managing Member, no Member or other Person other than
the Managing Member shall be an agent of the Company or have the right, power or
authority to transact any business in the name of the Company or to act for or on behalf of
or to bind the Company.

10.6 Reliance by Third Parties. Any Person dealing with the Company or the Managing
Member may rely upon a certificate signed by the Managing Member as to;

a. the identity of the Managing Member or any other Member hereto;

b. the existence or non-existence of any fact or facts which constitute a condition
precedent to acts by the Managing Member or in any other manager germane
to the affairs of the Company;

c. the Persons who are authorized to execute and deliver any instrument or
document of or on behalf of the Company; or,

d. any act or failure to act by the Company or as to any other matter whatsoever
involving the Company or any Member.

10.7 Fiduciary Duties.
(A) Conflicts. Unless otherwise expressly provided herein,

(1) whenever a conflict of interest exists or arises relating to the
Managing Member; or

(2) whenever this Agreement or any other agreement contemplated
herein or therein provides that the Managing Member shall act
in a manner that is, or provides terms that are, fair and
reasonable to the Company or any Member, the Managing
Member shall resolve such conflict of interest, taking such
action or providing such terms, considering in each case the
relative interest of each party (including its own interest) to
such conflict, agreement, transaction or situation and the

 
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benefits and burdens relating to such interests, any customary
or accepted industry practices, and applicable generally
accepted accounting practices or principles. In the absence of
bad faith by the Managing Member, the resolution, action or
term so made, taken or provided by the Managing Member
shall not constitute a breach of its Agreement or any other
agreement contemplated herein or of any duty or obligation of
the Managing Member or otherwise, (b) Discretion. Whenever
in this Agreement the Managing Member is permitted or
required to make a decision.

(1.1)

(1.2)

in its “discretion” or under a grant of similar
authority or latitude, the Managing Member
shall be entitled to consider only such
interests and factors as it desires, including
its own interests, and shall have no duty or
obligation to give any consideration to any
interest of or factors affecting the Company
or any other Person, or

in its “good faith” or under another express
standard, the Managing Member shall act
under such express standard and shall not be
subject to any other or different standard
imposed by this Agreement or other
applicable law.

10.8 Removal of Managing Member. The Members may, for “cause” (as hereinafter

defined) by:

(a) affirmative vote of Members hold at least 50% of the Company Interests, remove the
Managing Member by delivery of a written instrument, effective immediately upon
written instrument shall also name a substitute Managing Member to replace the
Managing Member being removed. The substitute Managing Member shall be
admitted as a Managing Member of the Company immediately prior to the
withdrawal of the removed Managing Member and shall continue the business of the
Company. As used in this section 10.8 only, “cause” shall mean fraud, malfeasance
and or breach of the Managing Members standard of care.

(b) a Managing Member removed pursuant to section 10.8

(I) shall sell, and the substitute Managing Member appointed pursuant to section

 
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10.8

(IJ) shall purchase, within ninety (90) days after the effective date of removal, the
entire Company Interest of the Managing Member being removed for a
purchase price equal to the positive balance of the removed Managing
Member’s Capital equal to the positive balance of the removed Managing
Member’s Capital Account, as determined by the Company’s independent
certified public accountants, and the substitute Managing Member shall
succeed to the entire LLC Interest and Capital Account of the removed
Managing Member and shall possess all rights with respect thereto. If the
removed Managing Member shall have a negative balance in its Capital
Account on the effective date of removal, the removed Managing Member
shall be obligated to restore such Capital Account to zero immediately upon its
removal, and the substitute Manager Member shall succeed to the entire LLC
Interest of the removed Managing Member. A Managing Member removed
pursuant to this section 10.8 shall not be liable for any obligations of the
Company arising after the effective date of its removal.

ARTICLE XI
MEETINGS OF MEMBERS

11.1 Call. Meetings of the members may be called at any time by the Managing Member [or by
Members holding at least 51% of the LLC Interests]. Notice of any meeting shall be given
to all Members not less than ten (10) days nor more than thirty (30) days prior to the date of
such meeting which notice may be waived by a Member either in writing or by his
participation in the in the meeting. The Company shall not be required to hold an annual
meeting of Members. Each Member may authorize any Person to act for him by proxy on
all matters in which a Member is entitled to participate, including waving notice of any
meeting, or voting or participating in a meeting. Every proxy must signed by the Member or
his attorney-in-fact. Whenever a vote, consent or approval of Members is permitted or
required under this Agreement, such vote, consent or approval may be given at a meeting of
Member or by written consent.

11.2 Conduct. Each meeting of Members shall be conducted by the Managing Member or by
such other Person who the Managing Member may designate. The Managing Member, in its
sole discretion, shall establish all other provisions relating to meetings of Members,
including notice of the time, place or purpose of any meeting at which any matter is to be
voted on by any Members, waiver of any such notice, action by consent without a meeting,
the establishment of a record date, quorum requirements, voting in person or by proxy or

 
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any other matter with respect to the exercise of any right to vote.

ARTICLE XIE

GENERAL PROVISIONS

12.1 Notice. Any notice, demand or other communication required or permitted to be given
pursuant to this Agreement shall have been sufficiently given for all purposes if:

A. delivered personally to the party or to an executive office of the party to whom such
notice, demand or other communication is directed; or,

B. sent by registered or certified mail, postage prepaid, addressed to the Member or the
Company at his or its address set forth this Agreement. Except as otherwise provided
in the Agreement, any such notice shall be deemed to be given three business days
after the date on which it was deposited in a regularly maintained receptacle for the
deposit of United States mail, addressed and set as set forth in this section.

12.2 Books of Accounts and Records.
(A) at the expense of the Company, the Company shall maintain at the Company’s
principal place of business, records and accounts of all operations and expenditures of
the Company, including, without limitation, the following records:

1.

Qo

current list in alphabetical order of the name and mailing address of
each holder of an interest in the Company, their facsimile numbers and
with respect to the holders of interest in the Company, their respective
shares of Net Profits and Net Losses, or information from which such
shares can be derived.

a copy of the Articles of Organization and all amendments thereto,
together with executed copies of any powers of attorney pursuant to
which any such amendment has been executed;

. copies of the Company’s Federal, State and Local income tax returns

and reports, if any, for the three (3) most recent Fiscal Years;

copies of this Agreement, as in effect from time to time;
any writings or other information with respect to each Member’s
obligation to contribute cash, property or services to the Company,
including, without limitation, the amount of cash so contributed and a
description and statement of the value of the property or services so
contributed or to contributed;
any financial statements of the Company for the three most recent
Fiscal Years:

 
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7. minutes of every annual, special and court-ordered meeting of the
Members; and,

8. any written consents obtained from the Members for actions taken by
the Members without a meeting.

(B) upon ten (10) days advance notice, during normal business hours, any
member or its representatives may, at its expense, inspect and copy the record
described in this section for any purpose reasonable related to such Member’s
Interest.

12.3 Amendments. This Agreement contains the entire Agreement among the Members with
respect to the subject matter of this Agreement, and supersedes each course of conduct
previously Pursued or acquiesced in, and each oral Agreement and Representation previously
made, by the Members with respect thereto, whether or not relied or acted upon. No usage of
trade, whether or not relied or acted upon, shall amend this Agreement or impair otherwise
affect any Member’s obligations pursuant to this Agreement or any rights and remedies of a
Member pursuant to this Agreement. No amendment to this Agreement shall be effective
unless made in writing duly executed by all Members and specifically referring to the
provision of this Agreement being amended.

12.4 Headings. The headings in this Agreement are for convenient only and shall not be used to
interpret or construe any provision of this Agreement.

12.5 Waiver. No failure of a Member to exercise, and no delay by a Member in exercising, any
right or remedy under this Agreement shall constitute a waiver or such right or remedy. No
waiver by a Member of any such right or remedy under this Agreement shall be effective
unless made in writing duly executed by all members and specifically referring to each
such right or remedy being waived.

12.6 Severability. Whenever possible, each provision of this Agreement shall be interpreted in a
manner as to be effective and valid under applicable law. However, if any provision of this
Agreement shall be prohibited by or invalid under such law, it shall be deemed modified to
conform to this minimum requirements of such law or, if for any reason it is not deemed so
modified, it shall be prohibited or invalid only to the extent of such prohibition or invalidity.

12.7 Binding. This Agreement shall be binding upon and insure to the benefit of all Members,
and each successor and assignees of the Members, except that right or obligation of a
Member under this Agreement may be assigned by such member to another Person without
first obtaining the written consent of all other Members.

 
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12.8 Counterparts. This Agreement may be executed in counterparts, each of which shall be
deemed an original and all of which shall constitute one of the same instrument.

12.9 Governing Law. This Agreement shall be governed by, and interpreted and construed in
accordance with, the laws of the State of New York applicable to the Agreement and fully
performed therein, and specifically the Act.

IN WITNESS WHEREOF, those signing this Agreement below conclusively evidence
their agreement to the terms and conditions of this Agreement by so signing this Agreement.

LESZEK SIEDLECKI
Managing Member

 

 
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OPERATING AGREEMENT OF
150 CALYER LLC

EXHIBIT A

NAME TITLE PERCENTAGE

Leszek Siedlecki Managing Member 100%
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nveb.uscourts.gov

 

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): [50 CAlYee Lic CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;
(ii) are spouses or ex-spouses; (ili) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners:
or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
included in the property of another estate under 11 U.S.C. § 541(a).]

>< NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
() THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:
1. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE STILL PENDING: (YES/NO): [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, ete.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:

 

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION;:
CASE STILL PENDING: (YES/NO): [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “4” (“REAL PROPERTY *”) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:

 

 

 
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[OVER]
DISCLOSURE OF RELATED CASES (cont'd)
3, CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING: (YES/NO): [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:

 

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):

 

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form.

 

 

 

Signature of Debtor’s Attorney Signature of Pro-se Debtor/Petitioner

150 Galyerv xteet

Mailing Address of Debtor/Petitione:

R2ockGw yy 4 UM22D

City, State, Zip Code ,

 

Email Address

(AYS) 293 —-€6 370

Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.

 
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

womens --- x

 

Case No.

In re: (SO CALS ey, Loe Chapter

Debtor(s)

--- =~ -X

 

DECLARATION OF PRO SE DEBTOR(S)

All individuals filing for bankruptcy pro se (without an attorney), must provide the following information:

Name of Debtor(s): [40 CAI YER LLC

Address: [50 CAINER steeet, Brock Lys ALY (122?
Email Address: VowE

Phone Number: (KS )

CHECK THE APPROPRIATE RESPONSES:
FILING FEE:
7, PAID THE FILING FEE IN FULL
___APPLIED FOR INSTALLMENT PAYMENTS OR WAIVER OF THE FILING FEE

PREVIOUS CASES FILED: 1. 2. 3.
ASSISTANCE WITH PAPERWORK:

"A NO ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES
HAD ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES

If Debtor had assistance, the following information must be completed:

Name of individual who assisted:

 

 

 

Address:
Phone Number: ( )
Amount Paid for Assistance: $

I/We hereby declare the information above under the penalty of perjury.

Dated: 2-22-/F LS C5 FY 2

Debtor’s Signature

 

Joint Debtor’s Signature
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re:

SO Cab ey CL Case No.
a —
Chapter

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

 

The undersigned debtor(s) orretternes—fer the debtor(s) hereby verifies that
the creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: -22-/? .
EEG BQ

Debtor °

 

Joint Debtor

 

Attorney for Debtor

USBC-44 Rev, 3/17/05
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150 Calyer Street LLC Matrix:

Environmental Control Board
66 John Street, Brooklyn NY 10038

Nagin Family Trust
50 Bank Street
New York, NY 10014

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